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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                :
                                      :                    CHAPTER 7
NEW VISION REALTY & INVESTMENTS, INC.,:
                                      :                    CASE NO. 21-55752-PMB
       Debtor.                        :
                                      :
                                      :
S. GREGORY HAYS, AS CHAPTER 7 TRUSTEE :
FOR NEW VISION REALTY & INVESTMENTS, :
INC.,                                 :                    ADVERSARY PRO. NO.
                                      :
      Plaintiff,                      :
v.                                    :
                                      :
NORMANDY CAPITAL TRUST,               :
                                      :
      Defendant.                      :
                                      :
                                      :
                                      :

                                          COMPLAINT

          COMES NOW S. Gregory Hays, as Chapter 7 Trustee (“Trustee” or “Plaintiff”) for the

bankruptcy estate (the “Bankruptcy Estate”) of New Vision Realty & Investments, Inc.

(“Debtor”), by and through undersigned counsel, and files this Complaint against Normandy

Capital Trust (“Normandy” or “Defendant”) and respectfully shows the Court as follows:

                                      Jurisdiction and Venue

          1.    This Court has jurisdiction over this proceeding under 28 U.S.C. §§ 1334 and 157

and 11 U.S.C. §§ 544, 550, and 551.

          2.    This adversary proceeding constitutes a core proceeding under 28 U.S.C. § 157

(b)(2).

          3.    Venue is proper in this Court under 28 U.S.C. § 1409 because this adversary


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proceeding arises in the Chapter 7 bankruptcy case of Debtor, Case No. 21-55752 (the

“Bankruptcy Case”), pending in the Northern District of Georgia, Atlanta Division.

         4.    This adversary proceeding is initiated under Rules 7001(1) and (2) of the Federal

Rules of Bankruptcy Procedure.

         5.    Defendant is a Delaware statutory trust which may be served under Rule 7004(b)

of the Federal Rules of Bankruptcy Procedure by first class United States Mail on its

trustee/registered agent as follows:

                                     Normandy Capital Trust
                    c/o Wilmington Savings Fund Society, FSB, Registered Agent
                                 500 Delaware Avenue, 11th Floor
                                     Wilmington, DE 19801

With a copy to:

                                       Gwendolyn J. Godfrey
                                            Polsinelli PC
                                   1201 West Peachtree Street, NW,
                                             Suite 1100
                                         Atlanta, GA 30309


         6.    Plaintiff consents to the entry of final orders or judgment by the Bankruptcy

Court.

                                       a. General Background

         7.    Debtor initiated the Bankruptcy Case by filing a voluntary petition for relief under

Chapter 7 of Title 11 of the United States Code (the “Bankruptcy Code”) on August 2, 2021 (the

“Petition Date”).

         8.    As the duly acting Chapter 7 trustee, Trustee is the sole representative of the

Bankruptcy Estate. 11 U.S.C. § 323.




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                                        b. The Property

         9.    Prior to the Petition Date, Debtor was the sole owner of record of a certain real

property with a common address of 2562 Meadow Lark Drive, East Point, Georgia 30344 (the

“Property”). [Doc. No. 18 at page 5 of 20]. Upon information and belief, Debtor purchased the

Property for $100,000.00 on or about November 17, 2017.

         10.   On its Schedule D: Creditors Who Have Claims Secured by Property, Debtor

scheduled the purported secured claims in the Property of: (a) Normandy Capital Trust in the

amount of $198,377.11; and (b) KRT Properties LLC in the amount of $40,000.00. [Doc. No. 18

at page 7 of 20].

                                       c. The Transfers

         11.   The scheduled secured claim of Normandy Capital Trust relates to a transfer of a

security interest that Debtor granted to Patch of Land Lending LLC through a Security Deed

dated November 17, 2017 (the “Security Deed”).

         12.   Debtor executed the Security Deed dated November 17, 2017 in favor of Patch of

Land Lending, LLC, conveying the Property to secure a debt in the original principal amount of

$130,000.00 (the “First Transfer”).

         13.   The Security Deed was recorded on was recorded in the real property records of

the Clerk of the Superior Court of Fulton County, Georgia (the “Real Estate Records”) on

December 4, 2017 (the “Second Transfer” and together with the First Transfer, the

“Transfers”) at pages 479-516 of Deed Book 58228.

         14.   A true and correct copy of the Security Deed is attached hereto and incorporated

herein by reference as Exhibit “A.”




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         15.      The Security Deed has been assigned to Normandy Capital Trust via an

Assignment recorded in the Real Estate Records on April 3, 2018 at pages 494-497 of Deed

Book 58630.

         16.      The execution of the Security Deed by Debtor was not attested by two witnesses

as required by O.C.G.A. § 44-14-61. This defect in attestation is apparent from the face of the

Security Deed.

         17.      The Security Deed has only one attesting witness, an unofficial witness (illegible

signature) shown below the Debtor’s signature.

         18.      Below the signature of the unofficial witness, there is an acknowledgment

executed by a notary public, Sheryl McCormick (“Ms. McCormick”),

         19.      Such an acknowledgment has been insufficient under Georgia law since 2015 as

two attesting witnesses are required. O.C.G.A. § 44-14-33.

         20.      Ms. McCormick did not sign the Security Deed as a subscribing witness.

         21.      The failure to have two attesting/subscribing witnesses is a fatal defect.

         22.      As a result, the Security Deed was not in recordable form as required by O.C.G.A.

§ 44-14-61, and, even though recorded, did not provide actual or constructive notice to a bona

fide purchaser.

                                               COUNT I

                                    Claim to Avoid the Transfers
                                    Under 11 U.S.C. § 544(a)(3)

         23.      Plaintiff hereby re-alleges and incorporates paragraphs 1 through 22 of this

Complaint as if the same were set forth verbatim herein.

         24.      The Security Deed is patently defective because: (a) the Debtor’s execution of the

Security Deed is not attested to by an official witness; and (b) the Debtor’s execution of the


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Security Deed is not attested to by two witnesses.

         25.   Because of the patent defect, the Security Deed did not provide Trustee, in his

role as a hypothetical bona fide purchaser, notice of any security interest. See Wells Fargo Bank,

N.A. v. Gordon, 292 Ga. 474 (2013); In re Codrington, 716 F.3d 1344 (11th Cir. 2013); Gordon

v. U.S. Bank Nat’l Ass’n (In re Hagler), 429 B.R. 42 (Bankr. N.D. Ga. 2009) (Massey, J.); U.S.

Bank Nat’l Ass’n v. Gordon, 289 Ga. 12, 17 (2011).

         26.   Plaintiff, in his position as a hypothetical bona fide purchaser of real property, has

a claim in the Property that is superior to the claim of Defendant to the Property, such that

Trustee may avoid the Transfers under 11 U.S.C. § 544(a)(3).

                                            COUNT II

                Claim to Determine the Validity, Extent, or Priority of Liens

         27.   Plaintiff hereby re-alleges and incorporates paragraphs 1 through 26 of this

Complaint as if the same were set forth verbatim herein.

         28.   Plaintiff seeks a determination that the security interest of Defendant in the

Property is unperfected, unenforceable, and invalid, and that any timely filed claim of Defendant

can only be allowed as a non-priority unsecured claim.

                                           COUNT III

                              Claim of Recovery from Defendant
                                  Under 11 U.S.C. § 550(a)

         29.   Plaintiff hereby re-alleges and incorporates paragraphs 1 through 28 of this

Complaint as if the same were set forth verbatim herein.

         30.   Defendant is an immediate or mediate transferee of an interest in the Property

from Debtor.




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         31.   Plaintiff is entitled to recover from Defendant its interest in the Property, or other

appropriate relief, under 11 U.S.C. § 550.

                                             COUNT IV

                         Claim for Preservation of Avoided Transfers
                                    Under 11 U.S.C. § 551

         32.   Plaintiff hereby re-alleges and incorporates paragraphs 1 through 32 of this

Complaint as if the same were set forth verbatim herein.

         33.   The avoided Transfers are preserved automatically for the benefit of the

Bankruptcy Estate under 11 U.S.C. § 551.

         WHEREFORE, Trustee prays the Court enter a judgment in favor of Trustee and against

Defendant:

         a)    Avoiding the Transfers under 11 U.S.C. § 544(a)(3), pursuant to Count I of the

               Complaint;

         b)    Establishing security interest of Defendant in the Property is unperfected,

               unenforceable, and invalid, and that any timely-filed claim of Defendant will only

               be allowed as a single non-priority unsecured claim, pursuant to Count II of the

               Complaint;

         c)    Ordering that Plaintiff is entitled to recover from Defendant its interest in the

               Property as to the Bankruptcy Estate’s interest, or the value of same, to Trustee

               under 11 U.S.C. § 550, pursuant to Court III of the Complaint;




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         d)   Preserving the Transfers for the benefit of the Bankruptcy Estate under 11 U.S.C.

              § 551, pursuant to Count IV of the Complaint; and

         e)   Granting any other relief the Court finds just and proper.

                                                    ARNALL GOLDEN GREGORY LLP
                                                    Proposed Attorneys for Trustee

                                                    By: /s/ Michael J. Bargar
171 17th Street, NW, Suite 2100                         Michael J. Bargar
Atlanta, GA 30363                                       Georgia Bar No. 645709
(404) 873-8500                                          michael.bargar@agg.com




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                            EXHIBIT “A” FOLLOWS




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